Case 24-10924-amc                   Doc         Filed 11/05/24 Entered 11/05/24 20:18:05                                  Desc Main
                                                Document      Page 1 of 7

     Fill in this information to identify the case:

     Debtor 1 Kathleen Marie Anderson
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Eastern District of Pennsylvania
     Case number 24-10924-amc




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                       12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Rocket Mortgage, LLC f/k/a Quicken Loans,                    Court claim no. (if known): 10
  LLC
  Last four digits of any number you           6910                             Date of payment change:                     12/01/2024
  use to identify the debtor’s account:                                         Must be at least 21 days after date of
                                                                                this notice

                                                                                New total payment:                         $642.65
                                                                                Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 256.86             New escrow payment:          $ 291.22



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %               New interest rate:                              %

                Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

                Reason for change:


                Current mortgage payment: $                        New mortgage payment: $




Official Form 410S1                            Notice of Mortgage Payment Change                                                page 1
Case 24-10924-amc                       Doc       Filed 11/05/24 Entered 11/05/24 20:18:05                    Desc Main
                                                  Document      Page 2 of 7

   Debtor1   Kathleen Marie Anderson                                 Case number (if known) 24-10924-amc
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Ryan Starks
       Signature
                                                                                    Date 11/05/2024



   Print: Ryan Starks (330002)
         First Name           Middle Name           Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                       Email PABKR@brockandscott.com




Official Form 410S1                               Notice of Mortgage Payment Change                                 page 2
Case 24-10924-amc             Doc       Filed 11/05/24 Entered 11/05/24 20:18:05                    Desc Main
                                        Document      Page 3 of 7
                               IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                           Philadelphia Division


 IN RE:
 Kathleen Marie Anderson                                         Case No. 24-10924-amc
                                                                 Chapter 13
 Rocket Mortgage, LLC f/k/a Quicken Loans, LLC,
          Movant

 vs.

 Kathleen Marie Anderson ,
         Debtor


                                              CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

MICHAEL A. CIBIK, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
help@cibiklaw.com

SCOTT F. WATERMAN [Chapter 13], Bankruptcy Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

Office of United States Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street Suite 320
Philadelphia, PA 19107

Via First Class Mail:

Kathleen Marie Anderson
6654 Edmund Street
Philadelphia, PA 19135

Date: November 5, 2024
                                                     /s/Ryan Starks
                                                     Andrew Spivack, PA Bar No. 84439
                                                     Matthew Fissel, PA Bar No. 314567
                                                     Mario Hanyon, PA Bar No. 203993
                                                     Ryan Starks, PA Bar No. 330002
                                                     Jay Jones, PA Bar No. 86657
                                                     Attorney for Creditor
                                                     BROCK & SCOTT, PLLC
                                                     3825 Forrestgate Drive
                                                     Winston Salem, NC 27103
                                                     Telephone: (844) 856-6646
                                                     Facsimile: (704) 369-0760
                                                     E-Mail: PABKR@brockandscott.com
                                             Paperless Statement/Electronic Only
         Case 24-10924-amc             Doc       Filed 11/05/24 Entered 11/05/24 20:18:05                           Desc Main
                                                 Document      Page 4 of 7
                                                                                           Annual Escrow Account
                                                                                            Disclosure Statement
1050 Woodward Avenue | Detroit, MI 48226

                                                                    Loan Information
                                                                        Loan Number:
      KATHLEEN M ANDERSON
      6654 EDMUND ST                                                 Property Address: 6654 Edmund ST
      PHILADELPHIA PA 19135-2802                                                       Philadelphia, PA 19135
                                                                      Statement Date: 10/21/2024
                                                                          New Payment
                                                                         Effective Date: 12/01/2024




   1. Your Escrow Account Has An Overage
  To take a closer look at your numbers,                           Projected Escrow Account Balance
  sign in to Rocket Mortgage® and click
                                                                   Projected Minimum Balance:                                       - $466.13
  on the Loan Information tab.
                                                                   Required Minimum Balance:                                          $474.95
  Great news - you're getting a refund. Please note that            Overage Amount:                                                 $1,478.28
  your payment may still be changing. Depending on
                                                                  Note: This amount has been adjusted to account for the bankruptcy proof of claim.
  whether you're current and your escrow account has
  sufficient funds to issue a refund, your check is attached
  or may be sent separately.


   2. Your Payment Is Changing
  Your escrow payment is increasing.                                                     Mortgage Payment Breakdown
                                                                                    $800

     Breaking Down The Numbers                                                      $700
                                       Current             New
                                                                                    $600
     Principal & Interest:             $351.43          $351.43
     Escrow Payment:                   $256.86          $291.22                     $500

     Monthly Payment:                  $608.29         $642.65                      $400

  Please note that the current payment amount listed above is the                   $300
  payment amount that the loan is due for under the terms of the
  security instrument. This may differ from the payment amount                      $200
  under the terms of the bankruptcy plan.
                                                                                    $100

                                                                                                  Current Payment          New Payment

                                                                               Principal & Interest     Escrow Payment




     Quick And Easy Payment Options
            RocketMortgage.com                          Rocket Mortgage® mobile app                          24/7 access at (800) 508-0944


                                                                                                                                          QL028




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             Case 24-10924-amc                    Doc         Filed 11/05/24 Entered 11/05/24 20:18:05                               Desc Main
                                                              Document      Page 5 of 7
                                                                                                               Annual Escrow Account
                                                                                                                Disclosure Statement
1050 Woodward Avenue | Detroit, MI 48226


  3. A Closer Look At Your Escrow Account History

   Escrow Account Disbursement From April 2024 To November 2024

        Estimated Insurance:                        $440.40        Estimated Total:                     $440.40
        Actual Insurance:                           $436.47        Actual Total:                        $436.47


 This section highlights the differences between the estimated and actual payment amounts for the insurance and shows
 the reason for the current overage.
 The actual amounts paid out for insurance over the past year, as shown here, are used as the basis for our projections for
 the upcoming 12 months.

 The table below details the activity history for your escrow account from last year. The differences in your insurance
 payment amounts are highlighted in yellow. Please keep in mind that the history will reflect the month in which the
 payment or disbursement was made. This may be different than the payment or disbursement due date.

       Escrow Account Activity History For April 2024 To November 2024
                                                                        Payments                      Disbursements                     Balance
   Date           Activity                                      Estimated             Actual       Estimated             Actual   Estimated       Actual
                                                                                                                                                           D
   04/2024 Beginning Balance                                                                                                        $403.62   - $184.74
   04/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00     $660.48       $72.12
   04/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $55.05     $605.43       $17.07
   05/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00     $862.29    $273.93
   05/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $55.05     $807.24    $218.88
   06/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00   $1,064.10    $475.74
   06/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $55.05   $1,009.05    $420.69
   07/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00   $1,265.91    $677.55
   07/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $55.05   $1,210.86    $622.50
   08/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00   $1,467.72    $879.36
   08/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $55.05   $1,412.67    $824.31
   09/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00   $1,669.53   $1,081.17
   09/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $53.74   $1,614.48   $1,027.43
   10/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00   $1,871.34   $1,284.29 **
   10/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $53.74   $1,816.29   $1,230.55
   11/2024 Deposit                                                  $256.86         $256.86              $0.00            $0.00   $2,073.15   $1,487.41 **
   11/2024 Withdrawal - MORTGAGE INS                                   $0.00           $0.00            $55.05           $53.74   $2,018.10   $1,433.67 **
                  Totals                                        $2,054.88        $2,054.88            $440.40           $436.47
  **
      This amount is a projection as of the date of this analysis. It has not been received or remitted at this time.
  D
      Your account had or is projected to have a deficiency. This is a negative balance in your account.




                                                                                                                                                    continued à
                                                                                                                                                           Page 2
                                                                                                                                                           QL028
         Case 24-10924-amc               Doc       Filed 11/05/24 Entered 11/05/24 20:18:05           Desc Main
                                                   Document      Page 6 of 7
                                                                                    Annual Escrow Account
                                                                                     Disclosure Statement
1050 Woodward Avenue | Detroit, MI 48226




4. A Closer Look At Projections For Your Escrow Account

  Escrow Account Projection
  Description                                      Annual Amount
  MORTGAGE INS:                                           $644.88
  HOMEOWNERS INS:                                      $2,259.00
  CITY TAXES:                                             $590.72
   Total Annual Taxes And Insurance:                     $3,494.60
   New Monthly Escrow Payment:                             $291.22

The table below details the projected activity for your escrow account. The minimum required balance, highlighted in yellow,
is determined by the Real Estate Settlement Procedures Act (RESPA), your mortgage contract or state law. Your account's
selected minimum allowed balance or cushion is $474.95. Your minimum required balance may include up to two months of
escrow payments to cover increases in your taxes and insurance.

The actual amounts paid out for taxes and insurance, as shown in the Escrow Account Activity History Table, are used as the
basis for our projections for the upcoming year.

    Future Escrow Account Activity For December 2024 To November 2025
                                                             Payments        Disbursements              Balance
  Date       Activity                                   Estimated            Estimated           Estimated        Required
  12/2024 Beginning Balance                                                                       $1,433.67       $2,374.75
  12/2024 Deposit                                          $291.22               $0.00            $1,724.89       $2,665.97
  12/2024 Withdrawal - MORTGAGE INS                           $0.00             $53.74            $1,671.15       $2,612.23
  01/2025 Deposit                                          $291.22               $0.00            $1,962.37       $2,903.45
  01/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74            $1,908.63       $2,849.71
  01/2025 Withdrawal - HOMEOWNERS INS                         $0.00          $2,259.00            - $350.37        $590.71
  02/2025 Deposit                                          $291.22               $0.00             - $59.15        $881.93
  02/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74            - $112.89        $828.19
  03/2025 Deposit                                          $291.22               $0.00              $178.33       $1,119.41
  03/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74              $124.59       $1,065.67
  03/2025 Withdrawal - CITY TAXES                             $0.00            $590.72            - $466.13        $474.95 L
  04/2025 Deposit                                          $291.22               $0.00            - $174.91        $766.17
  04/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74            - $228.65        $712.43
  05/2025 Deposit                                          $291.22               $0.00               $62.57       $1,003.65
  05/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74                $8.83        $949.91
  06/2025 Deposit                                          $291.22               $0.00              $300.05       $1,241.13
  06/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74              $246.31       $1,187.39
  07/2025 Deposit                                          $291.22               $0.00              $537.53       $1,478.61
  07/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74              $483.79       $1,424.87
  08/2025 Deposit                                          $291.22               $0.00              $775.01       $1,716.09
  08/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74              $721.27       $1,662.35
  09/2025 Deposit                                          $291.22               $0.00            $1,012.49       $1,953.57
  09/2025 Withdrawal - MORTGAGE INS                           $0.00             $53.74              $958.75       $1,899.83
  10/2025 Deposit                                          $291.22               $0.00            $1,249.97       $2,191.05
  Note: Your remaining Future Escrow Account Activity is on the next page.




                                                                                                                    continued à
                                                                                                                         Page 3
                                                                                                                         QL028
           Case 24-10924-amc               Doc       Filed 11/05/24 Entered 11/05/24 20:18:05                          Desc Main
                                                     Document      Page 7 of 7
                                                                                                 Annual Escrow Account
                                                                                                  Disclosure Statement
1050 Woodward Avenue | Detroit, MI 48226



     Future Escrow Account Activity For December 2024 To November 2025 Continued
                                                              Payments                 Disbursements                      Balance
 Date         Activity                                    Estimated                   Estimated                   Estimated         Required
 10/2025 Withdrawal - MORTGAGE INS                             $0.00                      $53.74                  $1,196.23         $2,137.31
 11/2025 Deposit                                            $291.22                         $0.00                 $1,487.45         $2,428.53
 11/2025 Withdrawal - MORTGAGE INS                             $0.00                      $53.74                  $1,433.71         $2,374.79
              Totals                                      $3,494.64                   $3,494.60
 L
  This amount denotes the projected low point balance.




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  If you have an active bankruptcy or you received a bankruptcy discharge, we are sending this for informational or legal purposes only. We’re
  not trying to collect against you personally. If you have any questions about this communication or your obligation to pay, please contact your
  attorney. If you want to send us a Qualified Written Request, a Notice of Error, or an Information Request, you must mail it to
  Rocket Mortgage, LLC, P.O. Box 442359, Detroit, MI 48244-2359, or fax it to (877) 382-3138.
         Phone: (800) 508-0944                                     Hours: Monday - Friday: 8:30 a.m. - 9:00 p.m. ET
          Email: ServicingHelp@RocketMortgage.com                              Saturday: 9:00 a.m. - 4:00 p.m. ET                          Page 4
     Secure Fax: (877) 380-5084                                                  Preguntas: (800) 982-2544                                 QL028
